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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8
 9   RICHARD HURRLE, individually and on
     behalf of all others similarly situated,
10                                                          NO.
                                  Plaintiff,
11                                                          CLASS ACTION COMPLAINT
            v.                                              FOR DAMAGES AND
12                                                          INJUNCTIVE RELIEF
     REAL TIME RESOLUTIONS, INC.,                           PURSUANT TO 47 U.S.C. § 227
13
                                                            et seq. (TELEPHONE CONSUMER
14                                                          PROTECTION ACT)
                                  Defendant.
15                                                          DEMAND FOR JURY TRIAL

16
17          Plaintiff Richard Hurrle (hereinafter referred to as “Plaintiff”), by his undersigned
18   attorneys, for this class action complaint against Defendant Real Time Resolutions, Inc., alleges
19   as follows:
20                                     I. NATURE OF ACTION
21          1.      Plaintiff, individually and as a class representative for all similarly situated
22   persons in the United States who have received telephone calls to their cellular telephones
23   made using an automatic telephone dialing system by or on behalf of Defendant, brings this
24   action for violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
25   (hereinafter referred to as the “TCPA”) against Defendant Real Time Resolutions, Inc. and its
26   present, former, or future direct and indirect parent companies, subsidiaries, affiliates, agents,
27

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 1   and/or related entities (hereinafter referred to as “Real Time” or “the Company” or
 2   “Defendant”).
 3                                II. JURISDICTION AND VENUE
 4           2.      This Court has subject matter jurisdiction over Plaintiff’s TCPA claims pursuant
 5   to 28 U.S.C. § 1331 because Plaintiff’s TCPA claims arise under the laws of the United States,
 6   specifically 47 U.S.C. § 227.
 7           3.      This Court has personal jurisdiction over Defendant because it does business in
 8   Washington and many of the wrongful acts alleged in this Complaint were committed in
 9   Washington.
10           4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), in that
11   Defendant does sufficient business in this District to subject it to personal jurisdiction herein
12   pursuant to 28 U.S.C. § 1391(c)(2). Defendant is licensed to do business in the state of
13   Washington and conducts business in Washington. Venue is also proper in this District
14   pursuant to 28 U.S.C. § 1391(b)(2), because Plaintiff received the calls at issue in this case
15   within this District and a substantial part of the events or omissions giving rise to the claim
16   occurred in this District.
17                                           III. PARTIES
18           5.      Plaintiff Richard Hurrle is, and at all times mentioned herein was, an individual
19   citizen of the State of Washington, who resides in Clark County.
20           6.      Defendant Real Time is a Texas corporation with its principal place of business
21   in Dallas, Texas. Real Time does business throughout the country, including this District. Real
22   Time is a “specialty servicer” of residential real estate mortgage loans, specializing in servicing
23   loans that are in default.
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             IV.     THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
 1
                                 (TCPA), 47 U.S.C. § 227
 2          7.      In 1991, Congress enacted the Telephone Consumer Protection Act, 47 U.S.C.
 3   § 227 (TCPA), in response to a growing number of consumer complaints regarding certain
 4   telemarketing practices.
 5          8.      The TCPA regulates, among other things, the use of automated telephone
 6   equipment, or “autodialers.” Specifically, the plain language of Section 227(b)(1)(A)(iii)
 7   prohibits the use of autodialers to make any call to a wireless number in the absence of an
 8   emergency or the prior express consent of the called party.
 9          9.      According to findings by the Federal Communication Commission (“FCC”), the
10   agency Congress vested with authority to issue regulations implementing the TCPA, such calls
11   are prohibited because, as Congress found, automated or prerecorded telephone calls are a
12   greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly
13   and inconvenient. The FCC also recognized that many wireless customers are charged for
14   incoming calls whether they pay in advance or after the minutes are used.
15          10.     On January 4, 2008, the FCC released a Declaratory Ruling wherein it
16   confirmed that autodialed and prerecorded message calls to a wireless number by a creditor (or
17   on behalf of a creditor) are permitted only if the calls are made with the “prior express consent”
18   of the called party. The FCC “emphasize[d] that prior express consent is deemed to be granted
19   only if the wireless number was provided by the consumer to the creditor, and that such number
20   was provided during the transaction that resulted in the debt owed.”
21                                 V. FACTUAL ALLEGATIONS
22          11.     Directly as well as through its contractors, vendor and/or agents, Defendant
23   employs hundreds of persons at various call centers throughout the country. These calling
24   centers use automatic telephone dialing systems and computerized account information to
25   track, record, and maintain the hundreds of thousands of accounts serviced by Defendant.
26
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 1          12.     A significant portion, if not a majority, of Defendant’s business operations are
 2   dedicated to servicing consumer loans that are in default, foreclosure, have been charged off by
 3   the original lender, or are subject to discharge in bankruptcy.
 4          13.     Part of Defendant’s regular business practice is to make repeated phone calls to
 5   persons it believes responsible for paying past-due mortgage loans.
 6          14.     Prior to filing for bankruptcy protection in 2007, Plaintiff owned as his primary
 7   residence a home located at 6311 NE 94th Avenue, Vancouver, Washington, 98662. The home
 8   was secured by a first mortgage held by Countrywide Home Loans, and a second mortgage
 9   held by Litton Loans.
10          15.     On information and belief, Litton Loans was liquidated and sold to another
11   lender called Ocwen Financial Corp.
12          16.     Plaintiff filed for Chapter 13 bankruptcy protection on November 27, 2007. In
13   conjunction with the filing, Plaintiff surrendered and vacated his home. The bankruptcy court
14   entered an Order of discharge on or about July 2, 2009 after Plaintiff made all payments
15   required under his confirmed Chapter 13 plan.
16          17.     After the bankruptcy court entered its discharge order, Real Time began calling
17   Plaintiff on his cellular telephone demanding payment for the Litton/Ocwen second mortgage.
18   Plaintiff has no business relationship with Real Time, nor did he ever give consent to Real
19   Time to call his cellular telephone. Real Time made repeated calls to Plaintiff on his cellular
20   telephone.
21          18.     Each of the calls placed by Real Time were made by means of an automatic
22   telephone dialing system as defined by the TCPA and all calls that are the subject of this
23   Complaint occurred within four years of the filing of this Complaint.
24                              VI. CLASS ACTION ALLEGATIONS
25          19.     Plaintiff brings this action individually and on behalf of all other persons
26   similarly situated (hereinafter referred to as “the Class”).
27

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 1           20.    Class Definition. Pursuant to Federal Rule of Civil Procedure 23, Plaintiff
 2   brings this case as a class action on behalf of a Class of persons defined as follows:
 3                  All persons within the United States who received a non-
                    emergency telephone call from Real Time Resolutions, Inc. to a
 4                  cellular telephone through the use of an automatic telephone
                    dialing system and who did not provide prior express consent for
 5                  such calls, at any time from August 30, 2009 to the date of trial.
 6           Excluded from the Class are Real Time and any entities in which Real Time has a
 7   controlling interest, Real Time’s agents and employees, the Judge to whom this action is
 8   assigned and any member of the Judge’s staff and immediate family.
 9           21.    Numerosity. The Class is so numerous that joinder of all members is
10   impracticable. Upon information and belief, the Class has more than 1000 members.
11   Moreover, the disposition of the claims of the Class in a single action will provide substantial
12   benefits to all parties and the Court.
13           22.    Commonality. There are numerous questions of law and fact common to
14   Plaintiff and the member of the Class. These common questions of law and fact include, but
15   are not limited to, the following:
16                  a.      Whether Real Time made non-emergency calls to Plaintiff and Class
17   members’ cellular telephones using an automatic telephone dialing system;
18                  b.      Whether Real Time can meet its burden of showing that it obtained prior
19   express consent (i.e., consent that is clearly and unmistakably stated), during the transaction
20   that resulted in the debt owed, to make such calls;
21                  c.      Whether Real Time’s conduct was knowing and/or willful;
22                  d.      Whether Real Time’s is liable for damages, and the amount of such
23   damages; and
24                  e.      Whether Real Time should be enjoined from engaging in such conduct in
25   the future.
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 1            23.   Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff’s
 2   claims, like the claims of the Class, arise out of the same common course of conduct by
 3   Defendant and are based on the same legal and remedial theories.
 4            24.   Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.
 5   Plaintiff has retained competent and capable attorneys who are experienced trial lawyers with
 6   significant experience in complex and class action litigation, including consumer class actions
 7   and TCPA class actions. Plaintiff and his counsel are committed to prosecuting this action
 8   vigorously on behalf of the Class and have the financial resources to do so. Neither Plaintiff
 9   nor their counsel have interests that are contrary to or that conflict with those of the proposed
10   Class.
11            25.   Predominance. Defendant has engaged in a common course of conduct toward
12   Plaintiff and the Class. The common issues arising from this conduct that affect Plaintiff and
13   the Class predominate over any individual issues. Adjudication of these common issues in a
14   single action has important and desirable advantages of judicial economy.
15            26.   Superiority. A class action is the superior method for the fair and efficient
16   adjudication of this controversy. Classwide relief is essential to compel Defendant to comply
17   with the TCPA. The interest of individual members of the Class in individually controlling the
18   prosecution of separate claims against Defendant is small because the statutory damages in an
19   individual action for violation of the TCPA are small. Management of these claims is likely to
20   present significantly fewer difficulties than are presented in many class claims because the calls
21   at issue are all automated. Class treatment is superior to multiple individual suits or piecemeal
22   litigation because it conserves judicial resources, promotes consistency and efficiency of
23   adjudication, provides a forum for small claimants, and deters illegal activities. There will be
24   no significant difficulty in the management of this case as a class action.
25            27.   Injunctive and Declaratory Relief Appropriate. Defendant has acted on grounds
26   generally applicable to the Class, thereby making final injunctive relief and corresponding
27   declaratory relief with respect to the Class appropriate on a classwide basis. Moreover, on

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 1   information and belief, Plaintiff alleges that the automated calls made by Defendant and/or its
 2   affiliates, agents and/or other persons or entities acting on Defendant’s behalf that are
 3   complained of herein are substantially likely to continue in the future if an injunction is not
 4   entered.
 5                               VII. FIRST CLAIM FOR RELIEF
                    (Negligent Violations of the Telephone Consumer Protection Act,
 6
                                        47 U.S.C. § 227(b)(1)(A))
 7          28.       Plaintiff realleges and incorporates by reference each and every allegation set
 8   forth in the preceding paragraphs.
 9          29.       The foregoing acts and omissions of Real Time and/or its affiliates, agents
10   and/or other persons or entities acting on Defendant’s behalf constitute numerous and multiple
11   negligent violations of the TCPA, 47 U.S.C. § 227(b)(1)(A).
12          30.       As a result of Real Time’s negligent violations of the TCPA, 47 U.S.C.
13   § 227(b)(1)(A), Plaintiff and members of the Class are each entitled to an award of $500.00 in
14   statutory damages for each and every call in violation of the statute, pursuant to 47 U.S.C.
15   § 227(b)(3)(B).
16          31.       Plaintiff and the Class are also entitled to and do seek injunctive relief
17   prohibiting Defendants and/or their agents, affiliates, and/or other persons or entities acting on
18   Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227(b)(1)(A), in the future.
19                            VIII. SECOND CLAIM FOR RELIEF
20              (Knowing and/or Willful Violations of the Telephone Consumer Protection
                                     Act, 47 U.S.C. § 227(b)(1)(A))
21
            32.       Plaintiff realleges and incorporates by reference each and every allegation set
22
     forth in the preceding paragraphs.
23
            33.       The foregoing acts and omissions of Real Time and/or its affiliates, agents
24
     and/or other persons or entities acting on Defendant’s behalf constitute numerous and multiple
25
     knowing and/or willful violations of the TCPA, 47 U.S.C. § 227(b)(1)(A).
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 1             34.    As a result of Real Time’s knowing and/or willful violations of 47 U.S.C. § 227
 2   et seq., Plaintiff and members of the Class are each entitled to treble damages of up to $1,500
 3   for each and every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
 4             35.    Plaintiff and the Class are also entitled to and do seek injunctive relief
 5   prohibiting Defendants and/or their agents, affiliates, and/or other persons or entities acting on
 6   Defendants’ behalf from violating the TCPA, 47 U.S.C. § 227(b)(1)(A), in the future.
 7                                      IX. PRAYER FOR RELIEF
 8             WHEREFORE, Plaintiff, on his own behalf and on behalf of the Class, prays for
 9   judgment against Defendant as follows:
10             A.     Certification of the proposed Class;
11             B.     Appoint Plaintiff as representative of the Class;
12             C.     Appoint the undersigned counsel as counsel for the Class;
13             D.     Declare that Defendant and/or its affiliates, agents and/or other related entities’
14   actions complained of herein violate the TCPA;
15             E.     Enjoin Defendant and/or its affiliates, agents and/or other related entities, as
16   provided by law, from engaging in the unlawful conduct set forth herein;
17             F.     Award Plaintiff and the Class statutory, compensatory and exemplary damages,
18   as allowed by law;
19             G.     Award Plaintiff and the Class attorneys’ fees and costs, as allowed by law and/or
20   equity;
21             H.     Permit Plaintiff and the Class leave to amend the Complaint to conform to the
22   evidence presented at trial;
23             I.     A trial by jury on all issues so triable; and
24             J.     Grant such other and further relief as the Court deems necessary, just and
25   proper.
26                                   X. DEMAND FOR JURY TRIAL
27             Plaintiff demands a trial by jury on all counts so triable.

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 1          DATED this 30th day of August, 2013.
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